
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-08-00110-CV


______________________________





IN THE INTEREST OF A.N., A CHILD





                                              


On Appeal from the 5th Judicial District Court


Bowie County, Texas


Trial Court No. 06C0911-005




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Carter



MEMORANDUM OPINION



	Barry A. Ormond has filed an appeal pro se from a purported order signed by the trial court
in a suit affecting parent-child relationship.  The clerk's and reporter's records were due to be filed
on or before October 13, 2008.  Appellant is not indigent, and is thus responsible for paying or
making adequate arrangements to pay the clerk's and reporter's fees for preparing the records.  See
Tex. R. App. P. 37.3.  On November 17, 2008, we contacted Ormond by letter, reminding him that
the record was over thirty days past due, and warning that, if we did not receive an adequate response
within ten days, we would dismiss the appeal for want of prosecution pursuant to Rule 42.3(b)
and&nbsp;(c) of the Texas Rules of Appellate Procedure.  See Tex. R. App. P. 42.3(b), (c).

	As of the date of this opinion, we have received no adequate response.  The record is now
over ninety days past due. 

	We dismiss the appeal for want of prosecution.



						Jack Carter

						Justice


Date Submitted:	January 22, 2009

Date Decided:		January 23, 2009



 insufficient for a jury to conclude he penetrated H.M.'s vagina.  Mere
contact with the vagina does not amount to penetration.  Vernon v. State, 841 S.W.2d 407, 409 (Tex.
Crim. App. 1992).  Penetration under the aggravated sexual assault statute should be defined by its
ordinary usage and may mean "to enter into" or "to pass through."  Id. (citing Webster's Third New
International Dictionary, p. 1670 (Merriam-Webster 1981)); see Rodda v. State, 926 S.W.2d
375, 378 (Tex. App.--Fort Worth 1996, pet. ref'd).  The question presented to this Court is whether
the evidence at trial was sufficient to show there was entry of his finger beyond mere contact with
the vaginal lips.

	In reviewing the legal sufficiency of the evidence, we view all of the evidence in the light
most favorable to the verdict and determine whether any rational trier of fact could have found the
essential elements of the crime beyond a reasonable doubt.  Johnson v. State, 23 S.W.3d 1, 7 (Tex.
Crim. App. 2000).

	On the night in question, H.M. was spending the night at the apartment of a school friend, 
Janie. (2)  According to Janie, Upton was the boyfriend of Janie's mother and considered by Janie in
a stepfather role.  H.M. testified she was told to sleep on the couch.  H.M. changed into her pajama
bottoms, but continued to wear her t-shirt and brassiere.  Instead of going immediately to sleep, H.M.
decided to watch a recorded movie.  After she had watched for approximately half an hour, H.M.
testified that Upton entered the room and sat down on the couch close to her; she scooted away from
him on the couch because his close proximity made her uncomfortable.  According to H.M., this did
not deter Upton, who moved closer to her and "stuck his hands down my [H.M.'s] pants."  H.M.
testified on direct examination as follows:

		Q.	[By Prosecutor]  Did his hand go underneath your underwear?


		A.	[By H.M.]  Yes, ma'am.


		Q.	Was it touching your skin?


		A.	Yes, ma'am.


		Q.	What did he do with his hand?


		A.	Like jab it in.


		. . . .


		Q.	[By Prosecutor]  . . . . Tell us exactly where he put his hand.


		A.	[By H.M.]  On my right part of my chest.


		Q.	So on your right breast?


		A.	Yes, ma'am.


		Q.	Was that over your clothing or under your clothing?


		A.	Under my clothing.


After H.M. loudly protested, Upton ceased his advances.  The following morning, H.M. testified that
Upton drove her, Janie, and Janie's sister, Jennifer, (3) to school.  H.M. testified that she was the last
of the girls to exit the van; just before she did, Upton warned her that she "better not tell anyone." 
That same day, H.M. approached her math teacher with a request that she be permitted to visit the
school counselor; she handed the counselor a note that she had been "messed with" by a man; she
was examined by a sexual assault nurse examiner (SANE) that afternoon. 

	When the prosecutor questioned H.M. later in the direct examination about the abuse, there
is some apparent contradiction regarding the issue of penetration of the vagina.  H.M. testified as
follows:

		Q.	[By Prosecutor]  You told us that when you were sitting on the couch
and Waynie put his hand on you -- put his hands in your [pants], he jabbed it in. 


		A.	[By H.M.]  Yes, ma'am.


		Q.	What did he jab in?


		A.	His finger.


		Q.	What did he jab it into?


		A.	My private part.


		Q.	Okay.  Was it just on the outside of your private part, or did his fingers
go inside your private part?


		A.	The outside.  


		Q.	Okay.  And he jabbed his fingers where?


		A.	In my private part.

				

Upton argues that the evidence is insufficient to support the jury's verdict because H.M. testified that
the contact was only on the outside.

	H.M.'s testimony gives rise to a number of different but equally plausible interpretations. 
The testimony could be interpreted, as Upton contends, as denying any penetration of the vagina. 
By her first mention of "jab it in," it is possible that H.M. could have been referring to jabbing the
hand underneath H.M.'s underwear, rather than any form of penetration of her body.  An alternative
interpretation could be that H.M. was referring to different, distinct acts committed by Upton and
failed to distinguish between the acts.  Immediately after stating the fingers were on the outside,
H.M. testified Upton jabbed his fingers "[i]n my private part."  H.M.'s use of the word "in" suggests
penetration.  

	The State argues that H.M. merely did not adequately understand the question.  Rebecca
Peavey, a forensic interviewer at the Children's Advocacy Center in Paris, testified that an eleven
year old may have difficulty differentiating between penetration and nonpenetration.  According to
Peavey, "that question in and of itself, it's a little difficult.  Because they, in their minds, inside really
means inside, up inside.  Not just breaking the plane, breaking the barrier."  Peavey testified that
H.M.'s complaint about being sore after the incident is consistent with penetration of her vagina. 

	In addition to H.M.'s testimony, the record contains some medical evidence supporting the
jury's conclusion that penetration occurred.  Payton McMonigle, a registered nurse and a SANE,
conducted a physical examination of H.M. (4)  During the examination, McMonigle noted no trauma
to the labia majora, perineum, or anus.  The hymen was intact and no trauma was noted.  McMonigle
did, however, observe two abrasions on the vaginal wall.  According to McMonigle, an abrasion is
a "superficial damage to the skin generally not deeper than the epidermis.  Usually, abrasions occur
when exposed skin, that's not covered, comes into contact with a moving object or rough surface." 
When asked whether "there would have to be some kind of object that went up about a [sic] inch and
a half or so in order to make that abrasion," McMonigle agreed. 

	Upton argues "the evidence, at most, showed only that Appellant touched the child
complainant's vagina with his hand."  We disagree.  Viewed in a light most favorable to the
prosecution, a rational juror could have concluded beyond a reasonable doubt that Upton penetrated
H.M.'s vagina with his finger.  The evidence satisfies the test of legal sufficiency.

	In contrast to a legal sufficiency review, in a factual sufficiency review, we review all the
evidence, but do so in a neutral light and determine whether the evidence supporting the verdict is
so weak or is so outweighed by the great weight and preponderance of the evidence that the jury's
verdict is clearly wrong or manifestly unjust.  Lancon v. State, 253 S.W.3d 699, 705 (Tex. Crim.
App. 2008); Roberts v. State, 220 S.W.3d 521, 524 (Tex. Crim. App. 2007); Marshall v. State, 210
S.W.3d 618, 625 (Tex. Crim. App. 2006); Watson v. State, 204 S.W.3d 404, 414-15 (Tex. Crim.
App. 2006); Clewis v. State, 922 S.W.2d 126, 134 (Tex. Crim. App. 1996).

	The record contains some evidence contradicting H.M.'s version of the events.  Cassandra
Lester, Janie's sister, testified that she (Cassandra) "always slept on the couch" and testified that she
had slept on the couch with her boyfriend on the evening in question.  Janie testified that H.M. slept
in the same room that she did.  Upton argues that the medical evidence is inconclusive and argues
that the abrasions to which McMonigle made reference may have been caused by some "debris" in
the vagina which McMonigle also noted. (5)  McMonigle testified the abrasions could be present even
if there "was no actual contact with a finger or anything like that," and she testified she did not
"know what would have caused them." 

	As noted above, in one instance, the child testified that Upton only touched her private parts
on the outside.  While the medical evidence strongly suggests penetration, the medical evidence was
not conclusive.  However, our role is not to substitute our judgment for the jury's.  "Although an
appellate court reviewing factual sufficiency has the ability to second-guess the jury to a limited
degree, the review should still be deferential, with a high level of skepticism about the jury's verdict
required before a reversal can occur."  Roberts, 220 S.W.3d at 524.  While the evidence of
penetration is not conclusive, we have not been able to reach the high level of skepticism necessary
for the evidence to be factually insufficient.  Viewed in a neutral light, the evidence supporting the
verdict is not so weak or so outweighed by the great weight and preponderance of the evidence that
the jury's verdict is clearly wrong or manifestly unjust.  The evidence is factually sufficient to sustain
a finding of guilt.  

II.	The Record Does Not Establish That Upton Received Ineffective Assistance of Counsel

	In his remaining points of error, Upton complains that he received ineffective assistance of
counsel.  Upton raises three complaints about the trial counsel's failure to raise objections at three
critical points:  (1) to the testimony the child was being truthful, (2) to the testimony that a child of
eleven years old has a different perception of penetration than adults, and (3) to the testimony of
Peavey as an outcry regarding the statements of the victim.

	The standard of testing claims of ineffective assistance of counsel is set out in Strickland v.
Washington, 466 U.S. 668 (1984), and adopted for Texas constitutional claims in Hernandez v. State,
726 S.W.2d 53, 57 (Tex. Crim. App. 1986).  In order to prevail on this claim, the appellant must
prove by a preponderance of the evidence (1) that his counsel's representation fell below an objective
standard of reasonableness and (2) that the deficient performance prejudiced his defense.  Strickland,
466 U.S. at 689; Rosales v. State, 4 S.W.3d 228, 231 (Tex. Crim. App. 1999).  To meet this burden,
the appellant must prove that his attorney's representation fell below the standard of prevailing
professional norms and that there is a reasonable probability that, had it not been for his attorney's
deficiency, the result of the trial would have been different.  Tong v. State, 25 S.W.3d 707, 712 (Tex.
Crim. App. 2000).  Under this standard, a claimant must prove that counsel's representation so
undermined the proper functioning of the adversarial process that the trial cannot be relied on as
having produced a just result.  Strickland, 466 U.S. at 686. 

	Our review of counsel's representation is highly deferential, and we indulge a strong
presumption that counsel's conduct falls within a wide range of reasonable representation.  Id. at 689;
Tong, 25 S.W.3d at 712.  This Court will not second-guess through hindsight the strategy of counsel
at trial, nor will the fact that another attorney might have pursued a different course support a finding
of ineffectiveness.  Blott v. State, 588 S.W.2d 588, 592 (Tex. Crim. App. 1979).  That another
attorney (including appellant's counsel on appeal) might have pursued a different course of action
does not necessarily indicate that the appellant received ineffective assistance of counsel.  Harner
v. State, 997 S.W.2d 695, 704 (Tex. App.--Texarkana 1999, no pet.).  Any allegation of
ineffectiveness must be firmly founded in the record, and the record must affirmatively demonstrate
the alleged ineffectiveness.  Thompson v. State, 9 S.W.3d 808, 813 (Tex. Crim. App. 1999).

	First, Upton complains that he received ineffective assistance of counsel because his trial
counsel failed to object when one of the SANE nurses testified that the child was being truthful. 
Peavey testified as follows:

		Q.	[By Prosecutor]  Tell me about how [H.M.] -- how she reacted to your
asking her to give that information?


		A.	[By Peavey]  She was very pleasant.  She was attentive.  She was a
little nervous, but she did make eye contact and she was very cooperative.


		Q.	Did that tell you anything?


		A.	I felt like she was being honest with me at the time.  


	Both this Court and the Texas Court of Criminal Appeals have held "a direct opinion on the
truthfulness of the child" is inadmissible evidence.  Yount v. State, 872 S.W.2d 706, 708 (Tex. Crim.
App. 1993); Sessums v. State, 129 S.W.3d 242, 247 (Tex. App.--Texarkana 2004, pet. ref'd).  While
an expert may testify to behaviors and traits that might be indicia of manipulation, a direct comment
on a complainant's "truthfulness" is "absolutely inadmissible."  Sessums, 129 S.W.3d at 247; see
Warren v. State, 236 S.W.3d 844, 849 (Tex. App.--Texarkana 2007, no pet.) (testimony that
self-mutilation conduct was consistent with the conduct of other children who had suffered
molestation was admissible).

	This case is distinguishable from our opinions in Sessums v. State and Fuller v. State in that
the opinion concerning truthfulness was neither elicited by the State nor was extensively emphasized
by the State.  See Sessums, 129 S.W.3d at 248 (finding ineffective assistance of counsel); Fuller v.
State, 224 S.W.3d 823, 836 (Tex. App.--Texarkana 2007, no pet.) (finding ineffective assistance
of counsel).  In both cases, the State elicited opinions concerning truthfulness from four expert
witnesses.  Sessums, 129 S.W.3d at 248; Fuller, 224 S.W.3d at 86.  In Sessums, the State emphasized
their opinions in its closing argument.  Sessums, 129 S.W.3d at 248.  The testimony in this case was
spontaneous on the part of the witness and was not emphasized by the State.  Trial counsel could
have reasonably concluded an objection would have merely emphasized the testimony, stamping it
more indelibly into the minds of the jurors than simply allowing it to glide past.  Although Peavey's
statement was inadmissible, and although trial counsel could have objected and possibly could have
obtained a favorable ruling to that effect, it would have been incumbent on counsel to proceed to
request a special instruction for the jury to disregard and then to move for a mistrial in order to fully
preserve the error.  More likely, the objection would have done nothing more than highlight the
unsolicited opinion to the jury.  The trial counsel's performance was not patently deficient for failing
to object.

	The second issue is whether the attorney was ineffective for not objecting to the testimony
of Peavey.  Peavey testified that an eleven year old may have difficulty differentiating between
penetration and nonpenetration.  According to Peavey, "that question in and of itself, it's a little
difficult.  Because they, in their minds, inside really means inside, up inside.  Not just breaking the
plane, breaking the barrier."  Upton argues that the testimony is bolstering and speculative.  The
State argues the testimony was not bolstering because the testimony reflects that Peavey was
expressing an opinion that H.M.'s behavior was consistent with that commonly observed among
children who were sexually abused. (6)  Bolstering occurs when one party introduces evidence for the
purpose of adding credence or weight to earlier unimpeached evidence offered by that same party. 
Rousseau v. State, 855 S.W.2d 666, 681 (Tex. Crim. App. 1993); Mumphrey v. State, 155 S.W.3d
651, 656 (Tex. App.--Texarkana 2005, pet. ref'd).  Speculative testimony is also prohibited under
the Texas Rules of Evidence.  See Tex. R. Evid. 602, 611.  Whether the testimony is bolstering or
speculative is within the zone of reasonable disagreement.  

	Where an appellate record is silent as to why trial counsel failed to take certain actions, the
appellant has failed to rebut the presumption that trial counsel's decision was in some way
reasonable, whether it is conceivable or not.  See Mata v. State, 226 S.W.3d 425, 431 (Tex. Crim.
App. 2007).  The conduct must be "so outrageous that no competent attorney would have engaged
in it."  Fox v. State, 175 S.W.3d 475, 485-86 (Tex. App.--Texarkana 2005, pet. ref'd); see
Thompson, 9 S.W.3d 808.  In this case, there is no record at any level to indicate why counsel chose
to take or declined to take any of these actions.  The ineffectiveness of counsel is a matter that must
be firmly founded in the record, and the record must affirmatively demonstrate the alleged
ineffectiveness.  Smith v. State, 51 S.W.3d 806, 813 (Tex. App.--Texarkana 2001, no pet.).  The
record does not establish that trial counsel's performance was deficient for failing to object to the
testimony that an eleven-year-old child may have difficulty differentiating between penetration and
a lack of penetration.  

	Upton's remaining argument is that his trial counsel was ineffective for failing to object to
the State calling Peavey as an outcry witness or permitting McMonigle to read the statement made
to Peavey by H.M.  Upton argues that the school counselor, Mrs. Robbins (and neither Peavey nor
McMonigle), was the proper outcry witness; accordingly, trial counsel provided ineffective
assistance in his failure to object to the hearsay statements of Peavey and McMonigle.

	Article 38.072 of the Texas Code of Criminal Procedure provides an exception to the hearsay
rule for testimony by "outcry witnesses" when specific requirements are met.  See Tex. Code Crim.
Proc. Ann. art. 38.072 (Vernon 2005).  An outcry witness is the first person, eighteen years of age
or older, other than the defendant, to whom the child victim made a statement about the details of
the offense.  Tex. Code Crim. Proc. Ann. art. 38.072, § 2(a)(2); Brown v. State, 189 S.W.3d 382,
385 (Tex. App.--Texarkana 2006, pet. ref'd).  

	The State argues that H.M. only wrote a note to Robbins, which merely alludes to the sexual
abuse, a note which the State argues is insufficiently detailed to conclude that the school counselor
should be the one outcry witness.  We observe that a "statement about the offense" must describe the
alleged offense in some discernible manner--more than a general allusion to sexual abuse.  Brown,
189 S.W.3d at 385.  The State's argument, though, is not supported by the record.  H.M. testified that
she wrote the note during math class, on her grade sheet.  H.M. testified that her math teacher
excused her from class to talk with Robbins.  The note, in its entirety, states as follows:  "Mom what
happen [sic] is Connie Man Wanney messed with me.  Can I just go home it fells [sic] like everyone
know because they keep looking at me I'm sorry please don't yell."  H.M. testified that she handed
this note to the school counselor.  The record, though, establishes the note was not the sole
interaction between Robbins and H.M.  On direct examination, H.M. testified that in addition to
giving Robbins the note, H.M. told the counselor why she was there.  On cross-examination, H.M.
described the conversation as follows:

		Q.	[By Defense Counsel]  How much information did you tell the
counselor?


		A.	[By H.M.]  Just about all of it.


		Q.	You told her all of it?


		A.	Yes, sir.


H.M. testified that she talked to Peavey and another nurse after talking to the school counselor. 
Robbins was not called as a witness.

	The above testimony occurred prior to Peavey being called as an outcry witness; no request
was made by trial counsel for an Article 38.072 hearing.  The foundation for objection to the
testimony of Peavey had been established.  Further, the State requested McMonigle, the nurse who
performed the physical examination of H.M., read the statement H.M. gave Peavey into the record. 
There were discrepancies between some of the details of the incident as initially related to Peavey
by H.M. and the testimony by H.M. at trial; had Peavey not been permitted to testify, trial counsel
would have been deprived of the basis to challenge the somewhat altered recount by H.M.  Trial
counsel may have held a belief that Robbins, who worked with children as a counselor on a day-to-day basis, might have been more damaging to the defense as a witness than either Peavey or
McMonigle and that to insist on her position as the outcry witness would have been damaging to the
case.  While the testimony of trial counsel might have been elicited at a hearing on a motion for new
trial or through some other means to determine trial counsel's thought process or trial strategy, the
rationale for this decision remains undetermined.  Other than this, although we find it difficult to
imagine that any conceivable strategy exists for trial counsel not to have objected to Peavey being
called as an outcry witness or to McMonigle reading a part of H.M.'s statement as given to Peavey,
it is not necessary for us to determine whether counsel's performance in failing to object was
deficient.

	However, even assuming arguendo that trial counsel's performance was deficient, the record
does not establish there is a reasonable probability that, but for trial counsel's deficient performance,
the result of the trial would have been different.  Upton argues that the record establishes a
reasonable probability of a different result.  According to Upton, Peavey would have been ineligible
to testify.  Upton now argues that due to the inconsistencies between the child's testimony and the
other witnesses, there would have been a different outcome had proper objections been made.

	The statement H.M. provided to Peavey was not entirely consistent with H.M.'s trial
testimony.  For example, Peavey testified that H.M. claimed in her interview to having worn jeans
or similar pants which Upton unzipped, whereas H.M. testified at trial that she was wearing pajama
pants.  This discrepancy and other inconsistent details were pointed out to the jury.  Further, some
of Peavey's testimony and the majority of McMonigle's testimony would have likely been admissible,
even if trial counsel had sustained an objection to the hearsay statements of H.M. 

	In addition, there is nothing in the record which reveals that the testimony provided by
Peavey and McMonigle as to the statements made to them by H.M. was less damaging than if the
same testimony were provided by Robbins.

	Overall, we are not convinced there is a reasonable probability of a different outcome if
Upton's trial counsel had performed differently.  

	We overrule Upton's claim that he received ineffective assistance of counsel.

	For the reasons stated, we affirm the judgment of the trial court.




						Bailey C. Moseley

						Justice


Date Submitted:	January 9, 2009

Date Decided:		January 22, 2009


Do Not Publish


1. Eleven years old at the time of the incident giving rise to the charges and thirteen years old
at the time of trial.
2. This is an alias. 
3. Likewise an alias.
4. The examination was conducted on February 9, 2007, and the assault occurred on or about
February 7, 2007. 
5. McMonigle noted black debris (which she indicated may have been dried blood) on the
vaginal wall and testified it was possible the debris caused the abrasions.
6. Although not mentioned by the State, the experience level of this witness would have
qualified her as an expert in the field, rendering her qualified to provide opinion testimony.  See Tex.
R. Evid. 704.

